Case 2:19-cv-00459-KJM-AC Document 1-1 Filed 03/14/19 Page 1 of 10




                     Exhibit A
          Case 2:19-cv-00459-KJM-AC Document 1-1 Filed 03/14/19 Page 2 of 10

                                                                                                  COPY                                      SUM.100
                                                                                                                  raRCOWTruseoMiv
                                         SUMMONS.                                                              ooto ^AM usooeu eotns)
                               (CfTACION JUDICIAL)                                                             FILED
NOTICE TO DEFENDANT:                                                                                           Superior Court Of Ca! fornia,
fAWSO Al DEMANDAbOJ;                                                                                           Sacramento
SYNCHRONY BANK; and DOES I - 10 inclusive,                                                                     02/0iy20'fs
                                                                                                               bisunon
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                            By.                 C eputy
                                                                                                               Ca&«f NumbHr:
JONATHAN LIZAMA.
                                                                                                               34-201S-0024S! >34
 NOTICEI You have been eued. Tho court may doddo agaiost you wUhout your being fwort tinJoss you fotpond wfiWn 30 days. Re#d U» Infonrlatlon




 Iha court cloik tor a fee waiver torm. If you do nol filo your response on Umo. you moy loso Iho coao by dofautt. ond yourwages. money, and property




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 pager0/ gravamen cto to cone antes rfe qua la oorte pvada rfeseefter of caso.
                                                                                                     CASCNUMSen:
The name and address o( the court is:        ^               . r>     __                             (tUmnOalGtto}:
(Elnombro y diftieddn do la cortQ 68}: Gordon D. Schaber County Courthouse
 720 9th Street
 Sacramento, CA 95814

Todd M. Friedman. 21550 Oxnard St., Suite 780 Woodland Hills, CA 91367. 877.2064741

 DATE:              FEB - 1 2019                                   Clertr, by              B. SUTTON                                         , Deputy
                                                                                                                                              (Adjunh)
(Feeha)                                                            fSecreterfo;
(Forproof ol^ndce o/ this summons, uso Proof of Service of Summons ffianm POS-OIO).)
(Psra pruoba d& enUaga do osia dlatldn usa ol fonnulorfo Proof of Service of Summons, (POS-C10)).
                               NOTICE TO THE PERSON SERVED: You are served
                              1.CZ]
                                 ___ as an individual defendant.
                              2. f' I as Ih© person sued under the ficUtlous nemo of (spodfy):


                                    3. OP on behalf of fspec/M*' Synchrony Bank
                                         under dUl CCP 416.10 (corporation)                                ] CCP 416.60 (ntinor)
                                               f----- 1 CCP 416.20 (defunct corporation)                   ] CCP410.7O(ooftsefvatee)
                                                ryi CCP 416.40 (association or partnership)                } COP 416.S0 (authorised person)

                                           _    I I other (spoony):
                                    4.         by personal delivery on (date;:       9^-
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               Case 2:19-cv-00459-KJM-AC Document 1-1 Filed 03/14/19 Page 3 of 10




         1                                                                                FILED
     1       Todd M. Friedman (216752)
             Adrian R. Bacon (280332)                                                     Superior Court 0 Cafifomiaj
     2
             Mordcchai Wolowitsch (324413)                                                Sacramento
     3       Law Offices of Todd M. Friedman, P.C.                                        02/01/20^9
             21550 Oxnard St., Suite 780                                                  bsutton
     4       Woodland Hills, CA 91367
             Phone: 323-306-4234                                                          By.                , Deputy
     5
             Fax: 866-633-0228                                                            Case Number
     6       tfriedman@toddnnw.com                                                        34-2019-002 4S934
             abacon@toddf1aw.com
     7       mwolowitsch@toddnaw.eOm
     8       Attorneys for PInintifT

     9                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                  FOR THE COUNTY OF SACRAMENTO
    10
                                       LIMITED JURISDICTION
    M
                                                             )   Case No.
    12       JONATHAN LIZAMA,                                )
                                                             )   COMPLAINT
    13
             PlaintifT,                                      )   (Amount not to exceed $10,000)
    14                                                       )
                     vs.                                     )         1. Violation of Rosenthal Fair Debt
    15                                                       )            Collection Practices Act
             SYNCHRONY BANK; and DOES 1-10                   )         2. Violation of Telephone Consumer
    16
             inclusive.                                      )            Protection Act
    17                                                       )
             Defendant.                                      )   JURY DEMANDED
    18                                                       )
    19

    20                                           I. INTRODUCTION

    21                1.   This is an action for damages brought by an individual consumer for Defendant’s

    22       violations of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code §1788, el seq.

    23       (hereinafter “RFDCPA”) which prohibits debt collectors from engaging in abusive, deceptive,

    24       and unfair practices.    Ancillary to the claims above, Plaintiff ftirther alleges claims for

    25       Defendant’s violations of the Telephone Consumer Protection Act., 47 U.S.C. §227, et seq.

    26       (hereinafter. “TCPA”).

    27       ///

    28
             ///
i            ///


                                                       Complaint - I
         Case 2:19-cv-00459-KJM-AC Document 1-1 Filed 03/14/19 Page 4 of 10




 I                                             II. PARTIES
 2           2.     Plaintiff, JONATHAN LIZAMA (“Plaintiff’), is a natural person residing in
 3   Sacramento County in the state of California and is a “debtor” as defined by Cal. Civ. Code
 4   § 1788.2(h). Plaintiff is a “person” as defined by 47 U.S.C. § 153(39).
 5           3.     At all relevant times herein. Defendant, SYNCHRONY BANK (“Defendant”), is
 6   a company engaged, by use of the mails and telephone, in the business of collecting a debt from
 7   Plaintiff which qualifies as a “consumer debt,” as defined by Cal. Civ. Code § 1788.2(f).
 8   Defendant regularly attempts to collect debts alleged to be due them, and therefore is a “debt
 9   collector” as defined by the RFDCPA, Cal. Civ. Code §1788.2(c). Further, Defendant uses an
10   “automatic telephone dialing system” as defined by the TCPA, 47 U.S.C. §227 and is a “person”
II   as defined by 47 U.S.C. § 153(39).
12          4.      The above named Defendant, and its subsidiaries and agents, are collectively
13   referred to as “Defendants.” The true names and capacities of the Defendants sued herein as
14   DOE DEFENDANTS 1 through 10, inclusive, are currently unknown to Plaintiff, who therefore
15   sues such Defendants by fictitious names. Each of the Defendants designated herein as a DOE
16   is legally responsible for the unlawful acts alleged herein. Plaintiff will seek leave of Court to
17   amend the Complaint to reflect the true names and capacities of the DOE Defendants when such
18   identities become known.
19          5.      Plaintiff is informed and believes that at all relevant times, each and every
20   Defendant was acting as an agent and/or employee of each of the other Defendants and was acting
21   within the course and scope of said agency and/or employment with the full knowledge and
22   consent of each of the other Defendants. Plaintiff is informed and believes that each of the acts
23   and/or omissions complained of herein was made known to, and ratified by, each of the other
24   Defendants.
25                                  in. FACTUAL ALLEGATIONS
26          6.      At various and multiple times prior to the filing of the instant complaint, including
27   within the one year preceding the filing of this complaint, Defendant contacted Plaintiff in an
28   attempt to collect an alleged outstanding debt.




                                                 Complaint - 2
            Case 2:19-cv-00459-KJM-AC Document 1-1 Filed 03/14/19 Page 5 of 10




 1              7.      In or around September 2018, Defendant called Plaintiffs cell phone ending in -
 2       7601 numerous times.
 3              8.      Defendant called from phone numbers belonging to them, including without
 4       limitation (330) 433-5039.
 5              9.      Defendant’s calls were excessive and harassing to Plaintiff.
 6              10.     Defendant’s calls were made to Plaintiff in connection with collection on an
 7   alleged debt.
 8              II.     Plaintiff is informed and believes, and therein alleges that during one of these
 9   telephone calls to Plaintiff, Defendant admitted to Plaintiff to have no outstanding debts with
10   Plaintiff.
II              12.     Defendant also used an “automatic telephone dialing system,” as defined by 47
12   U.S.C. § 227(a)(1), to place its repeated collection calls to Plaintiffs seeking to collect the debt
13   allegedly owed.
14              13.     Defendant’s calls constituted calls that were not for emergency purposes as
15   defined by 47 U.S.C. § 227(b)(1)(A).
16              14.     Defendant’s calls were placed to telephone number assigned to a cellular
17   telephone service for which Plaintiffs incur a charge for incoming calls pursuant to 47 U.S.C.
18   §227(b)(l).
19              15.     §1788.17 of the RfDCPA mandates that every debt collector collecting or
20   attempting to collect a consumer debt shall comply with the provisions of Sections 1692b to
21       1692j, inclusive, of, and shall be subject to the remedies in Section 1692k of, Title 15 of the
22   United States Code statutory regulations contained within the FDCPA, 15 U.S.C. §1692d, and
23   §1692d(5).
24              16.    Defendant’s conduct violated the RFDCPA in multiple ways, including but not
25   limited to:
     1

26                    a) Causing a telephone to ring repeatedly or continuously to annoy Plaintiff
                         (Cal. Civ. Code § 1788.11(d));
27
                      b) Communicating, by telephone or in person, with Plaintiff with such
28                       frequency as to be unreasonable and to constitute an harassment to
                         Plaintiff under the circumstances (Cal. Civ. Code § 1788.11 (e));


                                                   Complaint - 3
         Case 2:19-cv-00459-KJM-AC Document 1-1 Filed 03/14/19 Page 6 of 10




 I                 c) Causing Plaintiffs telephone to ring repeatedly or continuously with intent
 2
                      to harass, annoy or abuse Plaintiff (15 U.S.C. § I692d(5));
                   d) Communicating with Plaintiff at times or places which were known or
 3
                      should have been known to be inconvenient for Plaintiff (15 U.S.C. §
 4                     1692c(a)(l));and

 5
                   e) Engaging in conduct the natural consequence of which is to harass,
                      oppress, or abuse Plaintiff (15 U.S.C. § 1692d)).
 6

 7           17.    Defendant’s conduct violated the TCPA by:
 8                  a) using any automatic telephone dialing system or an artificial or pre­
                       recorded voice to any telephone number assigned to a paging service,
 9
                       cellular telephone service, specialized mobile radio service, or other
10                     radio common carrier service, or any service for which the called party
                       is charged for the call (47 USC §227(b)(A)(iii)).
|]


12           18.    As a result of the above violations of the RFDCPA and TCPA, Plaintiff suffered
13   and continues to suffer injury to Plaintiffs feelings, personal humiliation, embarrassment, mental
14   anguish and emotional distress, and Defendant is liable to Plaintiff for Plaintiffs actual damages,
15   statutory damages, and costs and attorney’s fees.
16                           COUNT I: VIOLATION OF ROSENTHAL
                           FAIR DEBT COLLECTION PRACTICES ACT
17

18           19.    Plaintiff reincorporates by reference all of the preceding paragraphs.
19          20.     To the extent that Defendant’s actions, counted above, violated the RFDCPA,
20   those actions were done knowingly and willfully.

21                                      PRAYER FOR RELIEF
22          WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant

23
     for the following:

24
                    A.      Actual damages;
                    B.      Statutory damages for willful and negligent violations;
25                  C.      Costs and reasonable attorney’s fees;
                    D.      For such other and further relief as may be just and proper.
26

27                           COUNT II; VIOLATION OF TELEPHONE
                                CONSUMER PROTECTION ACT
28
            21.     Plaintiff incorporates by reference all of the preceding paragraphs.


                                                Complaint - 4
           Case 2:19-cv-00459-KJM-AC Document 1-1 Filed 03/14/19 Page 7 of 10




 I             22.    The foregoing acts and omissions of Defendant constitute numerous and multiple
 2   negligent violations of the TCPA, including but not limited to each and every one of the above
 3   cited provisions of 47 U.S.C. § 227 et seq..
 4             23.   Asaresult ofDefendant’s negligent violations of 47 U.S.C. §227 et seq., Plaintiff
 5   is entitled an award of $500.00 in statutory damages, for each and every violation, pursuant to
 6   47 U.S.C. § 227(b)(3)(B).
 7             24.   The foregoing acts and omissions of Defendant constitute numerous and multiple
 $   knowing and/or willful violations of the TCPA, Including but not limited to each and every one
 9   of the above cited provisions of 47 U.S.C. § 227 et seq..
10             25.   As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227
|]   et seq.. Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every
12   violation, pursuant to 47 U.S.C. §'227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
13             26.   Plaintiff is entitled to and seeks injunctive relief prohibiting such conduct in the
14   future.
15                                        PRAYER FOR RELIEF
16             WHEREFORE, Plaintiff respectfully prays that judgment be entered against the
17   Defendant for the following:
18                   A. As a result of Defendant’s negligent violations of 47 U.S.C. §227(b)( 1),
                        Plaintiff is entitled to and request $500 in statutory damages, for each
19
                        and every violation, pursuant to 47 U.S.C. 227(b)(3)(B);
20                   B. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C.
                        §227(b)(l), Plaintiff is entitled to and requests treble damages, as
2!                      provided by statute, up to $1,500, for each and every violation, pursuant
                        to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C); and
22
                     C. Any and all other relief that the Court deems just and proper.
23
                        PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY
24
               27.   Pursuant to her right under Article I, Section 16 of the Constitution of the State
25
     of California, Plaintiff demands a trial by jury on all issues so triable.
26
     ///
27
     ///
28
     ///



                                                  Complaint • 5
     Case 2:19-cv-00459-KJM-AC Document 1-1 Filed 03/14/19 Page 8 of 10




 1           Respectfully submitted this 1st Day of February, 2019.
 2

 3
                                    By:
 4
                                             Todd M. Friedman, Esq.
 5                                           Law Offices of Todd M. Friedman, P.C.
                              t
                                             Attorney for Plaintiff
 6

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                                          Complainl - 6
           Case 2:19-cv-00459-KJM-AC Document 1-1 Filed 03/14/19 Page 9 of 10

                                                                                                                                            CM^IQ
                                                                                                                 FORCOUJtrUSEONLV


  Law Officea.of Todd M. Friedman
  21550 Oxnard St. Suite 780                                                                                  FILED
  Woodland Hills, CA 91367
      TELEPHONE NO^ 877-206-4741
                                             faxnoj 866-633-0228                                              Superior Court Of Cai ifornia,
____________
 ATTORNEY FOR       Plaintiff Jonathan Lizama______________ ___                                               Sacramento
SUPERIOR COURT OP CAUFORNW. COUNTY OF Sacramento
    STREET ADDRESS: 720 9th StTCet                                                                            02/01/20'f 9
    MAiuNQ ADDRESS: 720 9th StTeot                                                                            bsuuon
    cnvAHoapcooE: Sacramento 95814               ^ ^
       BRANCH NAME:
                    Gordon D. Schaber Sacramento County Courthouse                                                                                 3 deputy
 CASE NAME:                                                                                                   Case Numbtii';
 Jonathan Lizama v. Synchrony Bank, et ai.
      CIVIL CASE COVER SHEET                                   Complex Case Ooslgnatlon
                                                                                                   CASENUMI
                                                                                                            34-2019-00249 J34
I     I Unlimited           I       Limited              I I Counter              CH Joinder
         (Amount                    (Amount                                                                 JUDGE:
         demanded                   demanded Is          Filed   with first appearance   by defendant
                                                                                                             DEPT.
         exceeds $25,000)           $25,000 or less).______ (Cal.    Rules of Court, rule 3.402)
                                                               _______________________
                                       Items 1-6 below must be completed (see InstwcUons on page 2).
1. Check one box below for Ihe case type that best describes this case:
                                                       Contract                                    Provisionally Complex Civil Litigation
    Auto Tort                                               fBreachofoonWdAva-ranl, (06)
     ^ Auto (22)
                                                            ] Rule 3.740 collections (09)          □ AntitrastTrrade regulation (03)
             Untosurad motortsi (46)
                                                            1 omorooliectlonsCOQ)                  □ Conslmdlon defect (10)
   Other Pl/PDfWD (Personal Injury/Preporty
   Damego/Wrongful Death) Tort                              ] Insurance coverage (.18)            I—J Mass tort (40)
      ZD Asbestos (04)                                  __ I other contract (37)                   LJ SecuriUesdItigatton (28)
             Product llaMIty (24)                       leal Property                                    ■ EnvIfonmentaVToxtc tort (30)
           I Medical malpracOco (45)                    ZD Eminent domain/inverse                  I 1 Insurance coverage daJitia orlslng from Ihe
                                                       ___ condemnation (14)                               ebove Dsted provfslonolly complex ease
      Z] Other Plff»D/VWD (23)                                                                             types (41)
                                                             I wrongful eviclion (33)
     Non-PlfPD/WD (Other) Tort                                                                     Enforcomont of Judgment
                                                             I Other real property (26)
    [ZZ Business tortAmfalr business pracUco (07)                                                  I   I Enforcement of Judgment (20)
    I      I Clvl rights (08)                           Jnlawful Detainer
                                                        ^D Commercial (31) •                       Mtaccllanoous Civil Complaint
             DefQmatlon(13)
    O Fraud (16) •                                           I Resldont]al(32)                     IZZl RICO (27)
    LZ Intellectual property (19)                        __I    Drugs  (38)                        I ' I Other complafnl(nofsp0c//79d above) (42)
    IZI Professional negfiganco (26)                    ludIcUl Review                              Mlacoilanoous Civil Petition
    I ^ other non-Pl/PDAA/0 tort (35)                   ~"~1 Asset forfeiture (06)                 I 1 Partnerehlp end corporate governance (21)
     Employment                                         ZD Pe0llonre:arbllraUonaward(11) |              [ other petition (not apeef/fad above) (43)
    I 1 wrongful termination (38)                            I Writ of mandate (02)
    I I OtheremploymenKlS)                              n fHhar judicial re\riew (39)
 2. This case Ljle                jy
                                  I   I is not
                                            ... complex under rule 3.400 of the California Rules of Court If the case is complex, mark Ihe
      factors requiring exceptional Judidal management:
      a. I    I Large number of separately represented parties               d. I—I Large number of witnesses
       b. □ Extensive motion practice raising difficult or novel e. □ Cioordinatlon with related actions pending in one or more courts
                 Issues that will be time-consuming to resolve                   __ in other counties, states, or countries, or In a federal court
    'c. I     I Sutlstantlal amount of documentary evidence                  f. I J Substantial postjudgment Judicial supervision
 3. Remedies sought ('chaeffa/yf/rafappM-' b.C3 monetary             b.[Z] nonmonetary: declaratory or Injunctive relief            c. [Zlpunilive
 4. Number of causes of action (specify): 2
 6. This case CZD is       CZl Is not a class action suit.
 6. If there are any known related cases, file and serve a notice of related case. (You                form CM-OIS.)

Dale: February 1,2019
Todd M. Friedman                                                                           ISIONATUtd oF PARTY OR AHORNEV FOR PARTY)
                               (TYPE OR PRINT NAl^




   * If Ihls MM^rimplex under njlaS^SoOerseq'oflh^Ca^^^                            ^urt. you must serve a copy of this cover sheet on all

   • Unless^his ?s*a cSleSons^case mtder mie 3.740 or a complex case, this cover sheet will be used for statistical purposes on!^^.^ ^                  ^
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                                                                                                                                   www.FormtVWridan'.com
               Case 2:19-cv-00459-KJM-AC Document 1-1 Filed 03/14/19 Page 10 of 10

                                                                                                                                       CWW)10
                                INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a ovil case, you must
comDlete and file along with you^r first paper, the Civil Case Cover Sheet contained on page 1. This Information will be used to ^mpHe
         about the typis and^numberT^ cases filed. You must complete Herns 1 through 6 on the sheet. In




its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recov^ of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney’s fees, arising jj®"} ®     *°'J ‘JI
which property, services, or money was acquired on credit. A coller^ons case does not               a^°n ^ekrng
damages. (2) punitive damages. (3) recovery of real property. (4) recovery of personal                             ® Plf^^^ment wnt ^
attachment. The identification of a case as a rule 3.740 collections case on this form means Wat it will be exempt             se
time-for-service requirements and case management rules, unless a defendant files a responsive pleading.- A rule 3.740 collections
case virill be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties In Complex Cases. In complex cases only, parties must also use the CM Case




the case is complex.                                       CASE TYPES AND EXAMPLES
                                                                                                    Provisionally Complex Civil Litigation (Cal.
Auto Tort                                        Contract
                                                     Breach of Contract/Warranty (06)               Rules of Court Rules 3400-3403)
     Auto (22)-Per8onal Injury/Property                                                                  /Vntttrust/Trade Regulation (03)
          Oamage/WIrongful OeaUi                 • -     Breach of Rental/Lease
                                                              Contract (nof unlawful detainer            Construction Defect (10)
     Uninsured Motorist (46) {if the                                                                     Claims Involving Mass Tort (40)
          case Invotves an uninsured                              or wronghji eviction)
                                                         ConlractAhferranty Breach-^ller                 Securities Litigation (28)
          mofoWsf claim subject to                            Plaintiff (not fteud or negligence)        Environmentain’oxic Tort (30)
          arbitration, check this item                                                                   Insurance Coverage Claims
          Instead of Auto)                               Negligent Breach of Contfect/
                                                              Warranty                                        (arising from provisionally comp/ex
Other PI/PD/WD (Poraonal Injury/                         Other Breach of Contract/Warranty                    case type listed above) (41)
Property OamageA/Vrongful Death)                     Collections (e.g.. money owed, open              Enforcement of Judgment
Tort                                                     book accounts) (09)                              Enforcement of Judgment (20)
     Asbestos (04)                                       Collection Case-Seller Plaintiff                     Abstract of Judgment (Out of
          Asbestos Property Damage                       Other Promissory Note/Collections                         Ccwnty)
          Asbestos Personal Injury/                                                                           Confession of Judgment (non'-
                                                              Case
                Wrongful Death                       Insurance Coverage (nof provisionally                         domestic relations)
     Product Liability (nof asbestos or                  complex) (18)                                        Sister State Judgment
          toxlc/envlronmental) (24)                      Auto Subrogation                                     Administrative Agency Award
     Medical Malpractice (45)                                                                                     (nof unpaid taxes)
          Medical Malpractice-                           Other Coverage
                                                                                                              Petition/Certiflcatlon of Entry of
                 Physicians & Surgeons               Other Contract (37)                                          Judgment on Unpaid Taxes
          Other Professional Health Care                 Contractual Fraud                                    Other Enforcement of Judgment
             - Malpractice                               Other Contract Dispute                                    Case
     Other PI/PD/WD (23)                         Real Proper^                                         Miscellaneous Civil Complaint
          Premises Uabilify (e.g., slip              Eminent Domain/Inverse
                                                         Condemnation (14)                                RICO (27)
                 and fell)                                                                                Other Complaint (nof specified
           Intentional Bodily Injury/PD/WD           Wrongful Eviction (33)                                   above) (42)
                 (e.g.. assault vandalism)           Other Real Property (e.g., quiet title) (26)             Declaratory Relief Only
           Intentional Infliction of                     -Writ of Possession of Real Property                 Injunctive Relief Only (non-
                 Emotional Distress                       Mortgage Foraclosure                                      harassment)
           Negligent Infliction of                        Quiet Title                                         Mechanics Lien
                 Emotional Distress                       Other Real Property (nof eminent                    Other Commercial Complaint
          Other PI/PD/WD                                  domain, landlord/ienant. or                               Case (non'tort/hon-complex)
Non-PI/PD/WD (Other) Tort                                 foreclosure)                                        Other Civil Complaint
     Business Tort/Unfeir Business                Unlawful Detainer                                                (non-torthion-complax)
         Practice (07) ,                              Commercial (31)                                 Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,              Residential (32)                                    Partnership and Corporate
        ' false arrest) (nof cMI                     Drugs (36) (If the case Invotves Illegal                  Governance (21)
       ' harassment) (08)                                 dnigs, check this Item; otherwise,              Other Petition (nof specified
     Oefematlon (e.g., slander, libel)                   report as Commercial or Residential)                 above) (43)
            (13)                                 Judicial Review                                               Civil Harassment
     Fraud (16)                                      /^sset Forfeiture (05)                                   Woricpiace Violence
     Intellectual Property (19)                      Petition Re: Arbitration Award (11)                       Etder/Dependent Adult
     Professional Negligence (25)                  ' Writ of Mandate (02)                                           Abuse
          Legal Malpractice                               Wrlt-ZVimlnistrative Mandamus                        Election Contest
          Other Professional Malpractice                  VMt-Mandamus on Limited Court                        Petition for Name Change .
               (not medical or legal)                        Case Matter                                       Petition for Relief From Lafe
      Other Non-PI/PD/WP Tort (35)                        Writ-Other Limited Court Case                             Claim
 Employment                                                   Review                                           Other Civil Petition
      wrongful Termination (36)                      Other Judicial Review (39)
      Otiier Employment (15)                              Review of Health Officer Order
                                                          Notice of Appeal-Labor
                                                             Commissioner Appeals
                                                                                                                                          PageSofS
 CM-010 [Rev. July 1.2007]
                                                      CIVIL CASE COVER SHEET
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